                                                                         Motion (DE# #131) GRANTED.



                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )              No.     3:07-cr-00236-2
       v.                                     )
                                              )              Judge Trauger
EULALIO RAYGOZA                               )

                                    MOTION TO DISMISS

       The United States of America, by and through Donald Q. Cochran, United States

Attorney for the Middle District of Tennessee, and Assistant United States Attorney Brent A.

Hannafan, hereby moves to dismiss this case with prejudice against defendant Raygoza.

       This case was indicted in 2007. A warrant for defendant was returned unexecuted in

2009. The United States does not have any information on defendant’s location, does not expect

he will be arrested in the near future, and would face challenges in prosecuting this defendant at

trial due to the lapse in time since indictment. Given those circumstances, the United States

hereby moves to dismiss this case with prejudice.

                                                     Respectfully submitted,


                                                     DONALD Q. COCHRAN
                                                     United States Attorney
                                                     Middle District of Tennessee

                                                      /s Brent A. Hannafan
                                                     Brent A. Hannafan
                                                     Assistant United States Attorney
                                                     110 Ninth Avenue South, Suite A-961
                                                     Nashville, Tennessee 37203-3870
                                                     Telephone: (615) 736-5151




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